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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                  HOUSTON DIVISION

Michael D. Van Deelen,                     )
                                           ) Case No. 4:23-cv-3729
              Plaintiff,                   )
                                           )
v.                                         )
                                           )
David R. Jones, Elizabeth Carol Freeman,   )
Jackson Walker, LLP, Kirkland & Ellis,     )
LLP, and Kirkland & Ellis International,   )
LLP,                                       )
              Defendants.                  )
                                           )
                                           )
                                           )

            DEFENDANTS KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                    INTERNATIONAL LLP’S RESPONSE TO
               PLAINTIFF’S MOTION TO CORRECT, ALTER, OR AMEND




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           KIRKLAND’S RESPONSE TO PLAINTIFF’S MOTION TO CORRECT, ALTER, OR AMEND
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       Defendants Kirkland & Ellis LLP and Kirkland & Ellis International LLP (collectively,

“Kirkland”) file this response to Plaintiff’s Motion to Correct, Alter, or Amend, ECF No. 102.

       Kirkland does not oppose Plaintiff’s Motion. 1 Though Plaintiff Michael Van Deelen has

been subjected to Rule 11 sanctions on multiple occasions, Kirkland is not aware of any court

order finding his counsel, Mikell West or Robert Clore, to have violated Rule 11. Rather,

Kirkland’s sanctions briefing cited cases condemning the pair’s law firm, revoking the pair’s pro

hac vice admissions based on their track record and “misleading[]” conduct, and rejecting the

pair’s meritless RICO theory in a similar Fifth Circuit case. See ECF No. 41 at 4-5, 7-8, 18-19;

ECF No. 77 at 3, 29-30. Kirkland therefore does not oppose amendment of the following sentence

in the Court’s August 16, 2024 Memorandum Opinion and Order: “Just because the Plaintiff and

his lawyers have previously violated Rule 11 does not mean they have done so here.” ECF No.

101 (“Order”) at 35.

       That said, Plaintiff incorrectly characterizes what he calls “the defendants’ collective

strategy of bombarding the Court with misleading ad hominem attacks on counsel.” Mot. at 1-2.

There was nothing misleading or ad hominem about Kirkland’s sanctions motion. A lawyer’s

track record is appropriately considered as part of a sanctions motion. See, e.g., Martin v. Magee,

504 F. App’x 309, 312 (5th Cir. 2012) (sanctioning lawyer who “demonstrated a continued pattern

of filing frivolous, vexatious appeals that waste judicial resources”).

       With this clarification, Kirkland respectfully requests that the Court amend the relevant

sentence in its August 16, 2024 order to read as follows: “Just because the Plaintiff has previously

violated Rule 11 does not mean he and his attorneys have done so here.”




       1
          Because Plaintiff did not comply with Local Rule 7.1 and confer with Kirkland prior to
filing, Kirkland was not able to inform him of its non-opposition beforehand and thus potentially
avoid the need for any additional briefing.

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DATED: September 13, 2024                    Respectfully submitted:



                                             /s/ John C. Hueston
                                             John C. Hueston

                                             HUESTON HENNIGAN LLP
                                             California Bar No. 164921 (Pro Hac Vice)
                                             jhueston@hueston.com
                                             523 West 6th St., Unit 400
                                             Los Angeles, CA 90014
                                             Telephone: (213) 788-4340
                                             Facsimile: (888) 866-4825

                                             Attorney-in-Charge for Defendants Kirkland
                                             & Ellis LLP and Kirkland & Ellis
                                             International LLP

                                             Of Counsel:

                                             BECK REDDEN LLP
                                             David J. Beck
                                             Texas Bar No. 00000070
                                             Federal I.D. No. 16605
                                             dbeck@beckredden.com
                                             1221 McKinney, Suite 4500
                                             Houston, Texas 77010-2010
                                             Telephone: (713) 951-3700
                                             Facsimile: (713) 951-3720

                                             GREGORY D. TORRES
                                             ATTORNEY AT LAW, P.L.L.C.
                                             Texas Bar No. 00791802
                                             g_torres_law@hotmail.com
                                             457 Jefferson Street
                                             Eagle Pass, Texas 78852
                                             Telephone: (830) 773-6811
                                             Facsimile: (830) 773-6469




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                                   CERTIFICATE OF SERVICE

       I hereby certify that, on September 13, 2024, a true and correct copy of this document was
served on all counsel of record via the Court’s CM/ECF system.

                                            By:             /s/ John C. Hueston
                                                           John C. Hueston




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           KIRKLAND’S RESPONSE TO PLAINTIFF’S MOTION TO CORRECT, ALTER, OR AMEND
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